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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT

STATE OF VERMONT,

                          Plaintiff,

               v.
                                                           Case No. 2:21-cv-260-wks
EXXON MOBIL CORPORATION,
EXXONMOBIL OIL CORPORATION, ROYAL
DUTCH SHELL PLC, SHELL OIL COMPANY,
SHELL OIL PRODUCTS COMPANY LLC,
MOTIVA ENTERPRISES LLC, SUNOCO LP,
SUNOCO LLC, ETC SUNOCO HOLDINGS LLC,
ENERGY TRANSFER (R&M) LLC, ENERGY
TRANSFER LP, and CITGO PETROLEUM
CORPORATION,

                          Defendants.



                       DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                    FIFTH NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants write in response to Plaintiff’s Fifth Notice of Supplemental Authority (ECF

No. 68), regarding the Third Circuit’s decision in City of Hoboken v. Chevron Corporation, 2022

WL 3440653 (3d Cir. Aug. 17, 2022) (“Hoboken”).1 As Defendants have explained, the Second

Circuit’s decision in City of New York v. Chevron Corporation, 993 F.3d 81 (2d Cir. 2021), is

controlling and supports federal jurisdiction here. The Third Circuit’s decision in Hoboken did

not address whether the defendants’ claims there actually arose under federal common law.

Rather, it treated the defendants’ invocation of federal common law as an ordinary-preemption

defense that could not support removal under the well-pleaded complaint rule. Hoboken, 2022

WL 3440653, at *3. Here, however, Defendants do not invoke federal common law as a defense;


1
    By filing this response, Defendants do not waive any right, defense, affirmative defense, or
    objection, including any challenges to personal jurisdiction over Defendants.
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they contend that Plaintiff’s nominally state-law claims to abate fossil fuel emissions necessarily

and exclusively arise under the federal common law of transboundary pollution. Decisions from

both the Supreme Court and the Second Circuit establish that a plaintiff may not use state-law

claims to artfully plead around necessary federal questions. See ECF No. 51 at 19–21.

        Citing its own precedent, the Third Circuit also ruled that statutory complete preemption

provides the only doctrinal basis to remove federal common law claims labeled as arising under

state law. Hoboken, 2022 WL 3440653, at *2–3. But neither the Supreme Court nor the Second

Circuit has ever so held, and distinguishing between statutory claims and claims necessarily and

exclusively governed by federal common law would lead to bizarre results.2 Because the latter

claims would proceed in state court, state judges would develop the substantive content of federal

common law, subject only to review by the Supreme Court. Through artful pleading and venue

selection, plaintiffs could prevent the federal judiciary from developing federal common law in

areas implicating uniquely federal interests.

        The Third Circuit’s analysis of Grable jurisdiction is similarly flawed because it rests on

the same fiction that federal common law supplies only an ordinary-preemption defense. Hoboken,

2022 WL 3440653, at *3–4. Because “federal common law alone governs” Plaintiff’s claims,

resolving those claims necessarily requires the resolution of substantial federal questions. Battle

v. Seibels Bruce Ins. Co., 288 F.3d 596, 607 (4th Cir. 2002) (emphasis in original).




2
    See Richard H. Fallon, Jr., et al., Hart & Wechsler’s Federal Courts and the Federal System
    819 (7th ed. 2015) (explaining there is “[n]o plausible reason” why “the appropriateness of and
    need for a federal forum should turn on whether the claim arose under a federal statute or under
    federal common law”).



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       Finally, the Third Circuit’s holdings on jurisdiction under the Outer Continental Shelf

Lands Act and the federal officer removal statute are erroneous for the reasons explained in

Defendants’ opposition to Plaintiff’s motion to remand. See ECF No. 51 at 29–41.




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DATED: September 2, 2022           Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 2, 2022, I caused the foregoing Response to Plaintiff’s

Fifth Notice of Supplemental Authority to be electronically filed using the Court’s CM/ECF

system, and service was effected electronically to all counsel of record.


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